                  UNITED STATES DISTRICT COURT
                 WESTERN DISTRICT OF OKLAHOMA



BRITTNEY BUCKNER and VANCE                    JURY TRIAL DEMANDED
DOTSON


           Plaintiff,

                                              Case No.
                                                  CIV-22-002-D
ENHANCED RECOVERY COMPANY,
LLC, and ACCOUNT RESOLUTION
SERVICES, d/b/a HEALTHCARE
REVENUE R^ICOVERY GROUP,LLC.,
                                                                  FILED
and CAC FINANCIAL CORP.,                                           JAN 26 2022
                                                          CARMELITA REEDER SHINN, CLERK
           Defendants.                                   U.8. DIST. COURT. WESTERN DIST. OKLA.
                                                         BY                        ...DEPUTY




      AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL




                         I.    INTRODUCTION



1.   This is an action for actual and statutory damages brought by Plaintiffs

     Brittney* Buckner and Vance Dotson an individual consumer, against
             r


     Defendants, Enhanced Recovery Company, LLC ("ERC"), Account

     Resolution Services d/b/a Healthcare Revenue Recovery Group. LLC.,

     ("ARS"), and CAC Financial Corp.("CAC"),for violations ofthe Fair Debt

     Collection Practices Act, 15 U.S.C § 1692 et seq.(hereinafter "FDCPA"),
     which prohibits debt collectors from engaging in abusive, deceptive, and
     unfair practices.


                   II.   JURISDICTION AND VENUE


2.   Jurisdiction of this court arises under 15 U.S.C § 1692k(d) and 28 U.S.C

     § 1331. Venue in this District is proper in that the Defendants transact
     business in Oklahoma City, Oklahoma County, Oklahoma, and the
             i

     conduct complained of occurred in Oklahoma City, Oklahoma County,

     Oklahoma.



            '                  III. PARTIES


3.   Plaintiff Brittney Buckner (hereinafter "Ms. Buckner") is a natural
     person :^esiding in Midwest City, Oklahoma County, Oklahoma. Ms.
     Buckner is a consumer as defined by the Fair Debt Collection Practices

     Act, 15 U.S.C. §1692a(3).


4.    Party V^nce Dotson (hereinafter "Mr. Dotson") is a natural person
      residing,in Oklahoma City, Oklahoma County, Oklahoma. Mr. Dotson
      has been assigned 100 percent of these claim(s) above also is Attorney

      In^Fact pursuant to Okla. Stat. tit. 15, § 1014.
5.    Upon information and belief, Defendant, Enhanced Recovery Company,
      is a Florida corporation with its principal place of business located at

      8014 Bayherry Road, Jacksonville, FL 32256.


6.    Upon information and belief, Defendant, Account Resolution Services
      d/b/a Healthcare Revenue Recovery Group. LLC.,is a Florida corporation

      with its iorincipal place of business located at 1643 Harrison Pwky, Bldg
              i'

      H, Suitd 100, Sunrise, FL 33323.


7.    Upon information and belief. Defendant, CAC Financial Corp., is an
      Oklahoma corporation with its principal place of business located at 2601

      Northwest Expressway #1000e, Oklahoma City, OK 73112.
               i
8.    Defendants, Enhanced Recovery Company, LLC, Account Resolution

      Services, d/b/a Healthcare Revenue Recovery Group. LLC., and CAC

      Financial Corp., are engaged in the collection of debt from consumers

       using niail and telephone. Defendants regularly attempt to collect
       consumers' debts alleged to be due to other companies.
                   s




               f       IV. FACTS OF THE COMPLAINT

 9.    Defendants, Enhanced Recovery Company, LLC, Account Resolution
               a


       Services, d/b/a Healthcare Revenue Recovery Group. LLC., and CAC
                   1
      Financial Corp.,(hereinafter referred to as "Debt Collector") are a "debt
      collector*' as defined by the FDCPA, 15 U.S.C § 1692a(6).
              .t




10.   On or about August 24, 2021, Ms. Buckner reviewed ber credit report on

      "Credit Karma."



11.   On the report, Ms. Buckner observed trade lines from all the Debt
      Collector Defendants.

12.   Debt Collector ERC furnished three(3)trade lines of$68, $201, and $494

      allegedly owed to. 11 T'Mobile, 11 AT&T, and 11 Charter
      Communications respectively.


13.   Debt Collector ARS d/b/a Healthcare Revenue Recovery Group. LLC.,

      furnished a trade line of $1,063, allegedly owed to Emer Svc of
                   i
      Oklahoma.



14.   Debt Collector CAC furnished two (2) trade lines of $81 and $1,341

       allegedly owed to Norman Regional Health Systems.
                   I)

15. Also on ^lugust 24, 2021, Plaintiff made disputes via telephone about the
                   h

       accounts in question. However, on January 2, 2022, Plaintiff re'checked
                   r


       her cre-^lit reports and although the Debt Collectors had several
       communications with the consumer reporting agencies, the Debt
       Collectors failed to communicate the alleged debts in question were
       disputed by the Plaintiff, Ms. Buckner.

16. The Debt Collector's publishing of such inaccurate and incomplete
       information has severely damaged the personal and credit reputation of
       Ms. Buckner and caused severe humiliation, emotional distress, mental
        anguish and FXCO scores.


17.     Defendant materially lowered Plaintiffs credit score by failing to note

        Plaintiffs dispute.
                +-
                I.



18      A debt reported without dispute results in a much lower credit score than
                ■1

        a report^of both the debt and the dispute. Saunders v. Branch Banking
        and Trust Co. of VA, 526 F. 3d 142, 146'47 (4th Cir. 2008).

                 ,         V.    FIRST CLAIM FOE REUEF
                     (Defendants Enhanced Recovery Company, LLC,
      Account Re solution Services d/b/a Healthcare Revenue Recovery Group.
                a         LLC., and CAC Financitd Corp.)
                                  15 U.S.C. §1692e(8)

 19.     Ms. Buckner re-alleges and reincorporates all previous paragraphs as if
                     c



         fully set out herein.


 20.     The Debt Collectors violated the FDCPA.
21. The Debt Collectors' violations include, but are not limited to, the
       following:


       The Debt Collector violated 15 U.S.C § 1692e(8) of the FDCPA by failing
       to disclose to the consumer reporting agencies the alleged debt was in
        dispute by the Plaintiff, Ms. Buckner.
                1:

22.     As a result of the above violations of the FDCPA, the Defendants are
        liable to'the Ms. Buckner actual damages, statutory damages and cost.




               VI.        JURY DEMAND AND PRAYER FOR RELIEF


        WHEREFORE,Plaintiff Ms. Buckner and Mr. Dotson respectfully

 demands a jury trial and requests that judgment be entered in favor of
 Plaintiff and against the Debt Collector for:


      A. Judgine.nt for the violations occurred for violating the FDCPA;
      B. Actual damages pursuant to 15 U.S.C 1692k(l);
      C. Statutory damages pursuant to 15 U.S.C 1692k(2)(A);
      D. Cost and pursuant to 15 U.S.C 1692k(3);
      E. For a deletion and further relief as the Court may deem just and proper.

                     Y
                     li
                                          6
                                        Respectfully submitted*



        n 0^
Vance Dotson Attorney-In-Fact 15 O.S. § 1014
425 W. Wilshire Blvd Suite E
Oklahoma City, OK 73116
405.406.7323(telephone)
vancedotson@yahoo.com (email)




Brittany Buckner
                         ASSIGNMENT OF CLAIM FOR DAMAGES


      FOR VALUE RECEIVED,the                       i 44v\F>( t ^IC Ir i I lV _("Assignor"),
whose address{is               ^                 Av^                     CX'hj(OiCHereby
transfers 100% interest to Vance Dotson ("Assignee"), whose address is 425 W. Wilshire Blvd

Ste., E, Oklahoma City, OK 73116, and its successors, assigns, and personal representatives, any

and all claims, demands, and cause or causes of action of any kind whatsoever, which the

undersigned has or may have agaipst any person or persons arising from the following types of

claims:

    1. the FairCredit Reporting Act("FCRA"), 15 U.S.C. §§ 1681-1681x;

   2. the Fair Debt Collection Practices Act("FDCPA"), 15 U.S.C. §§1692-1692p,

   3. Uniform Commercial Code, Article 9,Part 6,

   4. the Real Estate Settlement Procedures Act("RESPA"), 12 U.S.C. §§ 2601-2617, and

    5. any applicable state laws related to a consumer law, tort, and negligence legal claims.

          The Assignee may in its own name, or under the Assignor's name, and for its own benefit

prosecute, collect, settle, compromise, and grant releases on said claim(s) in its sole discretion

deems advisable. Signature or action on this Assignment by Assignee constitutes acceptance. Your

assistance is nebded until the closing of the case.

          Signed tinder seal on the date indicated below.
                 Vl


 ASSIGNOR ^



                       Jrblxie
                                                             Date
                               LIMITED POWER OF ATTORNEY

 \             ^         —rr-                         whose          address     is
 nf^^n^T whose
 DOTSO^,  1 address is 425 W.
                           MidCUl^V    r(tt\Ste.
                              Wilshire Blvd.. >f)\LR.l^itO
                                                     Oklahomahereby  appoint
                                                               Citv. QIC     VANCE
                                                                         7-^11^77^
 agent and Attorney-in-Fact("Agent")to act for me in any lawful way with respect to and limited
 to the following:(i) take any and all legal steps necessary to collect any amount or debt owed to
 me, or to settle an^ claim, whether made against me or asserted on my behalf against any other
 person or entity;(ii) enter into binding contracts on my behalf;(iii) employ professional assistance
 as may be appropriate, including attorneys;(iv) act for me in any lawful way in credit and debt
 matters, claims and litigation;(v) assert and prosecute before a court or administrative agency a
 c aim, a cause of action, counterclaim, offset, and defend against an individual, a legal entity, or
 government, including suits to recover property or other thing of value, to recover damages
 sustained by the principal, to eliminate or modify tax liability, or to seek an injunction, specific
 performance or other relief; (vi) bring an action to determine adverse claims, intervene in
 litigation, and act-as amicus curiae; (vii) in connection with litigation, procure an attachment,
 garnishment, libel, order of arrest, or other preliminary, provisional, or intermediate reliefand use
 an available procedure to effect or satisfy a judgment, order, or decree;(viii) in connection with
 litigation, perfornrany lawful act, including acceptance oftender, offer ofjudgment,admission of
 tacts, submission of a controversy or an agreed statement offacts, submission ofa controversy on
 an agreed statement offacts, submission ofa controversy on an agreed statement offacts, consent
 to examination before trial, and binding the principal in litigation;(ix)submit to arbitration settle
 and propose or accept a compromise with respect to a claim or litigation;(x) waive the issuance
 and service of process upon the principal, accept service of process, appear for the principal,
 designate persons tjpon whom process directed to the principal may be served, execute and file or
 deliver stipulations on the principal's behalf, verify pleadings, seek appellate review, procure and
 pve surety and indemnity bonds, contract and pay for the preparation and printing of records and
 briefs, receive and execute and file or deliver a consent, waiver, release, confession ofjudgment
 satisfaction of judgment, notice, agreement, or other instrument in connection with the
 prosecution, settlement, or defense of a claim or litigation; and (xi) receive money, or other thing
               in seftlement of or as proceeds of a claim or litigation. This power of attorney is
ettective iminediately and will continue until it is revoked by providing written notice to my agent.
This power ofattorhey shall terminate upon subsequent disability, incapacity, or extended absence
ot the principal. I. agree that any third party who receives a copy of this document may act under
It. Revocation of this power of attorney is not effective as to a third party until the third party has
actual knowledge of the revocation. I agree to indemnify the third party for any claims that arise
against the third pa^ because of reliance on this power of attorney. My Agent shall not be liable
tor any loss that i:e|ults from a judgment error that was made in good faith. My Agent shall be
entitled to reasonable compensation for any services provided, and my Agent shall be entitled to
reimbursement of afl reasonable expenses incurred in connection with this power of attorney.
^^ued b;p>^         y                          Accepted by

        _ ruc^er ('(Principal")                Vance Dotson ("Agent")
     ^UAfy^L                      I            Date:                           I
